Case 5:20-cv-01409-OLG Document 1-1 Filed 12/10/20 Page 1 of 24

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

SAN ANTONIO DIVISION
KAREN MILLS §
VS. : CIVIL ACTION NO.: 20-CV-1409
WALMART STORES, INC. : JURY DEMANDED

INDEX OF DOCUMENTS FILED
WITH REMOVAL ACTION

Plaintiff's Original Petition.

CT Corporation Service of Process Transmittal and Executed Citation.

Defendant, Walmart Stores, Inc.’s Original Answer to Plaintiffs Original Petition.
Defendant, Walmart Stores, Inc.’s Demand for Jury Trial.

District Clerk’s Case History.

List of Counsel of Record.

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Exhibit A

 
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E-FILED

Bexar County, County Clerk

Lucy Adame-Clark

Submission Date: 9/3/2020 10:57 AM
Accepted Date: 9/4/2020 10:51 AM

cause no.2020CV04280 = “fsValerie'Fristan

eputy Cler
KAREN MILLS, § IN THE COUNTY COURT
- Plaintiff, §
§
VS. § AT LAW NOCC# 10
§
WALMART STORES, INC. §
Defendant, § BEXAR COUNTY, TEXAS

PLAINTIFF'S ORIGINAL PETITION
TO THE HONORABLE JUDGE OF SAID COURT:

NOW COMES, KAREN MILLS, Plaintifl, complaining of and about
WALMART STORES, INC,, Defendant, and for cause of action would show unto the
Court the following:

NOTICE PURSUANT TO RULES 47 AND 169 OF
THE TEXAS RULES OF CIVIL PROCEDURE

Ll Only monetary relief over ONE HUNDRED THOUSAND DOLLARS
($100,000.00) but not more than TWO HUNDRED THOUSAND DOLLARS
($200,000.00) including damages of any kind, penalties, costs, expenses, pre-judgment
interest, post judgment interest and attorey’s fees are. being sought.

PARTIES AND SERVICE

2.1 Plaintiff, KAREN MILLS, is an individual who resides in San Antonio,
Bexar County, Texas. The last three digits of PlaintlPs Social Secunty are 888.

929 Defendant, WALMART STORES, INC., is a company operating in the
State of Texas and service of process may be effected upon said Defendant by serving its
registered agent: CT Corporation Systems, 1999 Bryan Street, Suite 900, Dallas, Texas
75201. The Defendant may be served with citauon by serving its registered agent.

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JURISDICTION AND VENUE

3.1 The subject matter in controversy is within the jurisdictional limits of this
court.

3.2 This court has jurisdiction over the parties because Defendant is a
corporation registered to CT Corporation Systems.

3.38 Venue in Bexar County is proper in this cause under Section 15.002 (a)(I)
of the Texas Civil Practice and Remedies Code because all or a substantial part of the
events or omissions giving rise to this lawsuit occurred in this county.

FACTS

4,1 This lawsuit results from a fall that occurred on or about October 27, 2018
on the premises of Defendant located at 5626 Walzem Road, San Antonio, Bexar County,
Texas 78218. At all times prior thereto, Defendant, had complete control over the
premises located in Bexar County, Texas. At the ame and on the occasion in question,
Plaintiff, slipped on a substance on the floor and impacted the floor owned by Defendant.
‘During the course of Plainuifs visit on Defendant's premises, Plaintiff was caused to suffer
extensive injuries when she slipped and fell and impacted the Noor. These injuries were
serious in nature and required Plainufl to seck medical attention.

4.2 PlainulPs bodily injuries occurred as a direct result of a fall that was
proximately caused by the unreasonably dangerous condition described above, which
Defendant knew or, in the exercise of ordinary carc, should have known existed,

4.3 Plaintiff had no knowledge of the ‘dangerous condition that existed and

could not reasonably have been expected to discover the condition.

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LIABILITY OF WALMART STORES, INC,

jul Atall times mentioned herein, Defendant owned the premises in question,
located at 5626 Walzem Road, San Antonio, Bexar County, Texas 78218.

5.2 At all times mentioned herein, Defendant had such control over the
premises in question that Defendant owed certain duties to Plaintiff, the breach of which
proximately caused the injuries set forth herein.

§.3. This condition existed despite the fact that Defendant or Delendant’s agents
knew or should have known of the existence of the substance on the floor, and that there
was a likelihood of a person being injured as occurred to Plaintiff.

54 Furthermore, Plaintiff would show the court that dic condition of the foor
continued for such a period of time that, had Defendant or Defendant's agents exercised
ordinary care in the maintenance of its floor, it would have been noticed and corrected by
such persons.

5.5 At all times pertinent herein, Defendant, and any of Defendant’s agents,
who were acting in the scope of their employment, were guilty of negligent conduct towards
the Plainui{f in:

(a) Failing to properly inspect and maintain the store in a reasonably safe
Taner,

{b) Failing to warn PlaintilY and others of the unreasonably dangerous
condition of the floor;

(c) Failing to give warnings to Plaintiff of the substance substance that
existed.

(d) Failing to post warning signs, cones or protective barriers around the
substance.

(e) Failing to discover and remove the substance in the way of

customers that may cause harm to customers; and

 

 
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() Failing to discover and remove the substance within a
reasonable time.

PROXIMATE CAUSE

6.1 Each and every, all and singular of the foregoing acts and omissions, on the
part of Defendant, taken separately and/or collectively, consutute a «direct and proximate
cause of the injuries and damages set forth below.

DAMAGES FOR PLAINTIFF

7.1 Defendant’s acts or omissions described above, when viewed from the
standpoint of Plaintiff at the time of the act. or omissions, involved an extreme degree of
risk, considering the probability of harm to PlanulF and others.

7.2 Defendant had actual, subjective awareness of the risk involved in the above
described acts or omissions, but nevertheless proceeded with conscious indilference to the
rights, safety, or welfare of the Plainnff and others.

7.3 Asa direct and proximate result of the occurrence made the basis of this
lawsuit, and Defendant’s acts as described herein, Plaintill, KAREN MILLS, was caused to
sulfer personal injuries and to endure pain and illness resulting in damages more [Tully set
forth below. Plaintiff, KAREN MILLS, sustained injuries to her right knee, left knee,
back, hip, buttock and legs and suffers from right. knee pain, left knee pain, lower back
pain, mid back pain, sprain of ligaments of thoracic spine, sprain of ligaments of lumbar
spine, sprain of knee, pain in thoracic spine, low back pain, pain in right knee, pain in left
knee, contusion of right knee, muscle spasms, tissue adhesions, swelling and inflammation,

These injuries were serious in nature and required Plaintiff to seek medical attention.

 

 
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7.4

As a direct and proximate result of the occurrence made the basis of dis

lawsuit, Plaintiff, KAREN MILLS, has incurred the following damages;

(a)
(b)

8.1

Reasonable medical care and expenses in the past;

Reasonable and necessary medical care and expenses which will, in all
reasonable probability, be incurred in the future;

Physical pain and suffering in the past;
Mental anguish in the past;

Physical pain and suffering in the future;
Mental anguish in the future;

Physical impairment in the past; and

Physical impairment which, in all reasonable probability, will be suffered in
the future.

Plaintf? seeks pre-judgment interest and post-judgment interest at the

maximum and monetary relief over ONE HUNDRED THOUSAND DOLLARS

($100,000.00) but not more than TWO HUNDRED THOUSAND DOLLARS

($200,000.00) including damages of any kind, penaltics, costs, expenses, pre-

judgment interest, post-judgment interest and attorney’s fees are being sought.

 

 
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PRAYER

WHEREFORE, PREMISES CONSIDERED, Plaintiff, KAREN MILLS,
respectfully prays that the Defendant, WALMART STORES, INC., be cited to
appear and answer herein, and that upon a final hearing of the cause, judgment be
entered for the Plaintiff, KAREN MILLS, against Defendant, WALMART
STORES, INC., for damages aforementioned above, penaltics, costs, expenses,
pre-judgment interest, post-judgmient interest at the maxunum rate allowed by law
and such other and further relief to which the Plaintiff, KAREN MILLS, may be
entitled at law:

Respectfully submitted,

eT? DEFICES OF WILLIAM BONILLA, P.C.

CLAY BONILLA

State Bar No. 24055193

9727 Morgan Avenue

Third Floor, Bonilla Plaza
Corpus Christi, Texas 78405
Telephone No.: 361-882-8284.
Facsimile No.: 361-881-1031
Email:

 

ATTORNEY FOR PLAINTIFF

 

 
 

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Exhibit B

 
 

 

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CT Corporation

Filed 12/10/20 Page 10 of 24

Service of Process

Transmittal
41/16/2020
CT Log Number 538604267
TO: Kim Lundy Service Of Process
Walmart Inc.

702 SW 8TH ST

BENTONVILLE, AR 72716-6209

RE: Process Served in Texas

FOR: Wal-Mart Stores, Inc. (Former Name) (Domestic State: DE)
WALMART INC, (True Name)

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:

DOCUMENT(S) SERVED:

COURT/AGENCY:

NATURE OF ACTION:

ON WHOM PROCESS WAS SERVED:

DATE AND HOUR OF SERVICE:
JURISDICTION SERVED :

APPEARANCE OR ANSWER DUE:

ATTORNEY(S) / SENDER(S):

ACTION ITEMS:

SIGNED:
ADDRESS:

For Questions:

Mills Karen, Pltf. vs. Walmart Stores, Inc., Dft.
Name discrepancy noted.

Citation(s), Petition

166th Judicial District Court Bexar County, TX
Case # 2020CV04280

Personal Injury - Slip/Trip and Fall - 10/27/2018 - Bexar County, Texas.
C T Corporation System, Dallas, TX

By Pracess Server on 11/16/2020 at 04:23

Texas

By 10:00 a.m. on the Monday next after the expiration of 20 days after you were
served (Document(s) may contain additional answer dates)

Clay Bonilla

William Bonilla, P.C.
2727 Morgan Avenue
Third Floor, Bonilla Plaza
Corpus Christi, TX 78405
361-882-8284

CT has retained the current log, Retain Date: 11/17/2020, Expected Purge Date:
11/22/2020

Image SOP

Email Notification, Kim Lundy Service Of Process ctlawsuits@walmartlegal.com

C T Corporation System
1999 Bryan St Ste 900
Dallas, TX 75201-3140

877-564-7529
MajorAccountTeam2@wolterskluwer.com

Page 1 of 1 / SP

Information displayed on this transmittal is for CT
Corporation's record keeping purposes only and is provided to
the recipient for quick reference. This information does not
constitute a legal opinion as to the nature of action, the
amount of damages, the answer date, or any information
contained in the documents themselves. Recipient is
responsible for interpreting said documents and for taking
appropriate action. Signatures on certified mail receipts
confirm receipt of package only, not contents.
 

    

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wr gi sayy er GOod . = | id ets hese ie By = Ear Be Ba |
ile L-Wn Case Number: 2020CV04280 20200V04289  Soa0G'
i waren LLS IN THE COUNTY COURT
AT LAW NO. 10
WALMART STORES INC BEXAR COUNTY, TEXAS

(Note:Attached Document May Contain Additional Litigants.)

CITATION
"THE STATE OF TEXAS"

Directed To: WALMART. STORES INC
REGISTERED AGENT: CT CORPORATION SYSTEM
1999 BRAYN ST STE. 900
DALLAS, TX 75201-3140

"You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the clerk
who issued this citation by 10:00 a.m. on the Monday next following the expiration of twenty days after you were
served this citation and petition, a default judgment may be taken against you." Said petition was filed on the 3rd day
of September, 2020. .

ISSUED UNDER MY HAND AND SEAL OF SAID COURT ON THIS 10TH DAY OF SEPTEMBER, A.D., 2020.

LUCY ADAME-CLARK

 

CLAY BONILLA , County Clerk of Bexar County, Texas
ATTORNEY FOR PLAINTIFF 4 Bexar County Courthouse
9727 MORGAN AVE 100 Dolorosa Suite 104

CORP CHRISTI, TX 78405-1821

 

5p
San Antonig, Texas 78205
B fy Alaquinez, Deputy

KAREN MILLS Officer's Return Case Number : 2020CV04280

 

 

 

 

 

 

VS Court: County Court at Law No. 10
WALMART STORES INC

| received this CITATION on the day of 20. al_____o'clack __M. and:( ) executed il by delivering a copy of he CITATION on the daie of
delivery endorsed and to. . in person on the day of 20. al o'clock
__M. at. ot ( } nol executed because

Fees:____ Badge/PPS Fe Date certification expiras:

County, Texas

 

By:

 

OR: VERIFICATION OF RETURN (If not served by a peace officer) SWORN TO THIS

 

 

NOTARY PUBLIC, STATE OF TEXAS

 

 

 

 

OR: My name is , my date of birth is , and my address is
County.
I declare under penalty of perjury that the foregoing is true and correct. Executed in County, State of Texas, on
the day of____.____._ 28 .
Declarant

RETURN TO COURTIOKTAA1
 

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Exhibit C
 

Case 5:20-cv-01409-OLG Document 1-1 Filed 12/10/20 Page 13 of 24

E-FILED
Bexar County, County Cierk

Lucy Adame-Clark
2020CV04280 Submission Date: 12/4/2020 3:28 PM

Accepted Date: 12/7/2020 8:15 AM

NO.: 2020CV04280 Accepted By: Juan Teniente
Deputy Clerk
KAREN MILLS § IN THE COUNTY COURT
§
VS. § AT LAW NO--2620€¥04286-10
§
WAL-MART STORES, INC. § BEXAR COUNTY, TEXAS

DEFENDANT’S ORIGINAL ANSWER TO PLAINTIFE’S ORIGINAL PETITION
TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, WAL-MART STORES, INC., Defendant in the above numbered and
entitled cause of action, and files this Original Answer to Plaintiff's Original Petition and for
support thereof would respectfully show unto the Court as follows:

I.

Defendant asserts denials, under Rule 92 of the Texas Rules of Civil Procedure, to each

and every allegation contained in the said Petition, and demands strict proof thereof.
IL.

Pleading further and without waiving the foregoing, Defendant asserts that if Plaintiff
suffered injuries as a result of the incident made the basis of this lawsuit, which Defendant
expressly denies by the filing of this pleading, that said injuries were caused in whole or in part
by Plaintiff's own negligence or responsibility. Accordingly, Defendant asserts all rights,
privileges and remedies afforded or available pursuant to Chapter 33 of the Texas Civil Practices
and Remedies Code.

ll.

Pleading further and without waiving the foregoing, Defendant asserts that any damages

allegedly suffered by Plaintiff as a result of the incident made the basis of this lawsuit, which

Defendant expressly denies by the filing of this pleading, were exacerbated by Plaintiff's failure
 

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to mitigate said damages. Accordingly, Defendant asserts all rights, privileges and remedies
afforded or available to it pursuant to the Texas Civil Practices and Remedies Code.
IV.

Pleading further and without waiving the foregoing, Defendant asserts that Plaintiff's
recovery of medical or health care expenses, if any, is limited to the amount actually paid or
incurred by or on behalf of Plaintiff. Accordingly, Defendant asserts all rights, privileges and
remedies afforded or available to it pursuant to §41.0105 of the Texas Civil Practices and
Remedies Code.

V.

Pleading further and without waiving the foregoing, Defendant asserts that Plaintiff may
have had pre-existing injuries and/or conditions to Plaintiff’s body, and if Plaintiff was injured as
a result of the alleged incident, such injury is due, in whole or in part, to these pre-existing
injuries or conditions.

Vi.

Pleading further and without waiving the foregoing, Defendant asserts that the incident in
question was proximately caused or solely proximately caused by the negligent and/or wrongful
conduct of persons or third parties outside the control of this Defendant. Accordingly, Defendant
asserts all rights, privileges and remedies afforded or available to it pursuant to Chapter 33 of the
Texas Civil Practices and Remedies Code.

VIL.
Pleading further and without waiving the foregoing, Defendant would show that

Plaintiff’s alleged injuries and damages are the result of subsequent injuries or conditions which
 

Case 5:20-cv-01409-OLG Document 1-1 Filed 12/10/20 Page 15 of 24

were a proximate cause, or producing cause, or the sole producing cause of Plaintiffs injuries
and/or damages and not the result of any negligence on the part of this Defendant.
VIL.

Pleading further and without waiving the foregoing, Defendant specifically reserves the
right to amend this Answer, as is its right under the Texas Rules of Civil Procedure.

PREMISES CONSIDERED, WAL-MART STORES, INC. prays that Plaintiff take
nothing by this lawsuit, and that Defendant be allowed to go hence without day and recover all of
their costs and attorneys’ fees, and such other and further relief, both special and general, at law
ot in equity, to which they may show themselves justly entitled.

Respectfully submitted,

Daw & RAY, LLP

/s| Willie Ben Daw, III

Willie Ben Daw, III; TBN: 05594050
Email: wodaw@dawray.com

James K. Floyd; TBN: 24047628
Email: jfloyd@dawray.com

14100 San Pedro Ave., Suite 302
San Antonio, Texas 78232

(210) 224-3121 Telephone

(210) 224-3188 Facsimile

ATTORNEYS FOR DEFENDANT
WAL-MART STORES, INC.
Case 5:20-cv-01409-OLG Document 1-1 Filed 12/10/20 Page 16 of 24

CERTIFICATE OF SERVICE

The undersigned does hereby certify that a true and correct copy of the above and
foregoing instrument has been served upon all known counsel of record by electronic service on
this the 4th day of December, 2020.

Clay Bonilla Email: claybonilla@hotmail.com
THE LAW OFFICES OF WILLIAM BONILLA, P.C.

2727 Morgan Avenue

Corpus-Christi, Texas, 78405

/si_ Willie Ben Daw, III
Willie Ben Daw, III

 
 

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Exhibit D

 
 

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E-FILED
Bexar County, County Clerk

2020CV04280 Lucy Adame-Clark

Submission Date: 12/4/2020 3:28 PM
Accepted Date: 12/7/2020 8:15 AM

NO.: 2020C.V04280 Accepted By: Juan Teniente
Deputy Clerk
KAREN MILLS § IN THE COUNTY COURT
§
VS. § AT LAW NO-26206¥64280—10
§
WAL-MART STORES, INC. § BEXAR COUNTY, TEXAS

DEFENDANT’S DEMAND FOR JURY TRIAL
COMES NOW, Defendant WAL-MART STORES, INC. and hereby demands a jury trial
as is their right under Tex. Const. Art. I, § 15. Such demand for jury trial is hereby made more
than 30 days before the date this case is set for trial in accordance with Tex. R. Civ. P. 216.
Defendant tenders the jury fee contemporaneously with the filing of this jury demand which they
may show themselves justly entitled.
Respectfully submitted,

DAw & Ray, LLP

isi Willie Ben Daw, IIT
Willie Ben Daw, HI; TBN: 05594050
Email: wodaw@dawray.com
James K. Floyd; TBN: 24047628
Email: jfloyd(@dawray.com

14100 San Pedro Ave., Suite 302
San Antonio, Texas 78232
(210) 224-3121 Telephone
(210) 224-3188 Facsimile

 

ATTORNEYS FOR DEFENDANT
WAL-MART STORES, INC.
 

Case 5:20-cv-01409-OLG Document 1-1 Filed 12/10/20 Page 19 of 24

CERTIFICATE OF SERVICE

The undersigned does hereby certify that a true and correct copy of the above and
foregoing instrument has been served upon all known counsel of record by electronic service on
this the 4th day of December, 2020.

Clay Bonilla Email: claybonilla@hotmail.com
THE LAW OFFICES OF WILLIAM BONILLA, P.C.

2727 Morgan Avenue

Corpus-Christi, Texas, 78405

isi). Willie Ben Daw, III
Willie Ben Daw, IT!
 

Case 5:20-cv-01409-OLG Document 1-1 Filed 12/10/20 Page 20 of 24

Exhibit E

 
 

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42/10/2020 https://search.bexar.org/Case/CaseDetail?r=bbe28966-84 76-47 86-88fe-7 1294 2ecfc3b&st=l&lEMILLS&fn=KAREN&m=&=8full=y&p=2_...

 

 

Case #2020CV04280

Name: KAREN MILLS
Date Filed : 9/3/2020

Case Status : PENDING

—

itigant Type : PLAINTIFF

Court : 010

Docket Type : PREMISES
Business Name : 2020CV04280
Style : KAREN MILLS

Style (2) : vs WALMART STORES INC

httne://eaarch haxar ora/Case/Casehetail?ra=bbe28966-84 76-47 86-88fe-7 1 ead 2ecic3b&st=I&l=MILLS&fn=KAREN&am=&=&fullevao=2 2020CV04280... 1/2

 
Case 5:20-cv-01409-OLG Document 1-1 Filed 12/10/20 Page 22 of 24
42/10/2020 nttps://search.bexar.org/Case/CaseDetail?r=bbe28966-8476-4786-88fe-7 1e942ecic3b&st=l&i=MILLS&in=KAREN&m=&=8full=y&p=2_..,

Case History

Currently viewing all records

Sequence Date Filed Description
POOO0S 12/4/2020 DEFENDANT JURY DEMAND
POO004 12/4/2020 ANSWER TO ORIGINAL PETITION

DEFENDANT, WAL-MART STORES INC'S
ORIGIANL ANSWER TO PLAINTIFF'S ORIGINAL
PETITION (4PGS)

POQO0003 11/20/2020 CITATION
SERVICE RETURN
$0000) 9/10/2020 CITATION

WALMART STORES INC
ISSUED: 9/10/2020 RECEIVED: 11/15/2020
EXECUTED: 11/16/2020 RETURNED: 11/20/2020

POQOQ002 9/3/2020 PETITION
ISSUANCE OF SERVICE
P0000] 9/3/2020 PLAINTIFF ORIGINAL PETITION

httos://search.bexar.ora/Case/CaseDetail?r=bbe28966-84 76-47 86-88fe-7 1e942ecfc3b&st=!&I=EMILLS&fn=KARENSam=&=Afullev&n=2 2O20CV04280 ... 2/2

 
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Exhibit F

 
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

SAN ANTONIO DIVISION
KAREN MILLS §
§
VS. §
§
WALMART STORES, INC. §

I.

LIST OF COUNSEL OF RECORD

Clay Bonilla; SBN: 24055193

Email: claybonilla@hotmail.com

The Law Offices of William Bonilla, P.C.
2727 Morgan Avenue

Third Floor, Bonilla Plaza

Corpus Christi, Texas 78405

(361) 882-8284 Telephone

(361) 881-1031 Facsimile
ATTORNEYS FOR PLAINTIFF,
KAREN MILLS

 

Willie Ben Daw, III; TBN: 05594050

Email: wodaw@dawray.com
James K. Floyd; TBN: 24047628

Email: jfloyd@dawray.com
Elizabeth W. Yancy; TBN: 24098642

Email: eyancy@dawray.com

Daw & Ray, LLP

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(210) 224-3188 Facsimile
ATTORNEYS FOR DEFENDANT,
WALMART STORES, INC.

CIVIL ACTION NO.:

JURY DEMANDED

 
